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                          Nos. 2022-2091, -2115


             United States Court of Appeals
                for the Federal Circuit
                         KOSS CORPORATION
                              Appellant

                                   v.

            KATHERINE K. VIDAL, UNDER SECRETARY OF
             COMMERCE FOR INTELLECTUAL PROPERTY
              AND DIRECTOR OF THE UNITED STATES
                PATENT AND TRADEMARK OFFICE
                            Intervenor

         Appeals from the United States Patent and Trademark Office,
  Patent Trial and Appeal Board in Nos. IPR2021-00305 and IPR2021-00381

           Appellant Koss Corporation’s Combined Petition for
                Panel Rehearing and Rehearing En Banc

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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2022-2091, -2115
   Short Case Caption Koss Corporation v. Vidal
   Filing Party/Entity Koss Corporation



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/27/2024
  Date: _________________                   Signature:    /s/ Mark G. Knedeisen

                                            Name:         Mark G. Knedeisen




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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Koss Corporation




                                  ‫܆‬      Additional pages attached




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FORM 9. Certificate of Interest                                                 Form 9 (p. 3)
                                                                                 March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬      Additional pages attached




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                        ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬      Additional pages attached




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                            RULE 35(b) STATEMENT

      Based on my professional judgment, I believe this appeal requires an answer

to one or more precedent-setting question(s) of exceptional importance:

      (1)    Whether issue preclusion applies when a party, after the district court

             dismissed its claims with leave to replead, amends a complaint to add

             new claims based on newly pleaded facts, and the new facts and new

             claims have never been addressed or adjudicated by any tribunal?

             Suggested Answer: No, because the new claims were never actually

             litigated and resolved on the merits.

      Based on my professional judgment, I also believe the panel decision is

contrary to the precedent of the Ninth Circuit set forth in:


Lacey v. Maricopa Cnty., 693 F.3d 896 (9th Cir. 2012); and Exeltis USA, Inc. v. First

Databank, Inc., 779 F. App’x 486 (9th Cir. 2019).1


                                               /s/ Mark G. Knedeisen
                                               Mark G. Knedeisen
                                               Attorney for Koss Corporation




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    Exeltis is precedential when relevant to the rules of claim preclusion or issue
    preclusion. 9th Cir. R. 36-3 (citation of unpublished opinions).

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                 REASONS FOR GRANTING THE PETITION

      Issue preclusion cannot attach to a judgment in which the underlying issues

were not “actually litigated.” When a district court grants a Rule 12(b)(6) motion to

dismiss without prejudice and grants leave to re-plead, and a party subsequently files

an amended complaint that raises new claims based on newly pleaded facts, the prior

dismissal does not “actually litigate” the new claims in the amended complaint. In

contrast, if a party fails to replead after such a dismissal (meaning that, unlike the

underlying proceeding, there are no new claims), or if a court instead dismisses the

claims with prejudice and without leave to amend, or if a court grants summary

judgment, the result is an “actual litigation.”

      Prior to the ruling in Koss Corporation v. Bose Corporation, Nos. 2022-2090,

2023-1179, 2023-1180, 2023-1191, 107 F.4th 1363 (Fed. Cir. 2024) (“Bose” as to

the case and “Bose Opinion” as to the ruling) (in which Koss subsequently filed an

almost identical petition), no court had ever held that an order granting a motion to

dismiss with leave to amend acts as a preclusive resolution of the newly pleaded

claims and facts after amendment. Such a rule would render the amended complaint

superfluous and ignore the distinction between dismissal with prejudice and

dismissal without prejudice with leave to amend.

      In an issue of first impression, the Bose Opinion improperly dismissed the

appeals between Bose and Koss (which involved a challenge to the PTAB’s final



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written decisions) based upon the erroneous conclusion that a Rule 12(b)(6)

dismissal without prejudice, with leave to amend, in a separate case involving the

same patents, acted as issue preclusion.        More specifically, in Koss Corp. v.

Plantronics, Inc., Case No. 4:21-cv-03854 (N.D. Cal.) (“Plantronics”), Plantronics

obtained an order dismissing Koss’s claims with leave to amend. Koss filed an

amended complaint adding new causes of action based on newly pleaded facts.

Those new causes of action have never been adjudicated.              In a case of first

impression, a panel of this Court in Bose erroneously determined that unadjudicated

causes of action, added in an amended complaint and never adjudicated, are

precluded under the doctrine of issue preclusion based on the pre-amendment

dismissal order. That ruling is contrary to governing law.

      United States Supreme Court authority establishes that the doctrine of issue

preclusion applies only when the issue of fact or law was “actually litigated.” B&B

Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138, 148 (2015); S. Pac. R. Co. v.

U.S., 168 U.S. 1, 50 (1897) (citing Cromwell v. Sac Cnty., 94 U.S. 351 (1876)). In

Bose, no court had performed any analysis of the newly pleaded claims (and in fact

the PTAB found the newly-pleaded claims patentable). There was no determination

or identification of any issue of law or fact actually litigated in the SAC. As a result,

there can be no issue preclusion on the claims of the SAC.




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      The Bose Opinion also conflicts with decades of precedent, which holds that

issue preclusion applies only to claims that were actually litigated and does not

extend to claims in an amended complaint based upon facts and allegations not

included in the original complaint. Claims that have never been analyzed, or ruled

upon, by any court are not “actually litigated” and cannot be precluded under the

doctrine of issue preclusion.

      Reconsideration or rehearing of this case en banc is necessary because the

Panel here relied on the erroneous Bose Opinion, and the Bose Opinion should be

corrected as it likewise improperly applied Lacey v. Maricopa County, 693 F.3d 896

(9th Cir. 2012) and its progeny. Bose, ECF No. 40. The Ninth Circuit has regularly

held, post-Lacey, that amended complaints that replead a particular cause of action,

render the claims in the original complaint a legal nullity, and declines to hear

appeals of any issues tied to the claims in the original complaint. Yet, under the Bose

Opinion’s application of Lacey, a party is required to appeal an order tied to a claim

that became a nullity to avoid preclusion of the amended claims. Thus, a party is

required to bring an appeal the Ninth Circuit prohibits.

      The Bose Opinion improperly extends the Ninth Circuit’s rule that a cause of

action dismissed with prejudice need not be re-pleaded to preserve the issue for

appeal. Consider, for example, a party alleges claims for patent infringement and

tortious interference, and the court dismisses the claim for tortious interference with



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prejudice, Lacey dictates the party need not replead the claims dismissed with

prejudice to appeal the dismissal after the infringement claim is adjudicated and

there is a final judgment. But when a party amends its infringement claim, after

dismissal without prejudice and leave to amend, the prior infringement claim is a

nullity. The Bose Opinion incorrectly requires a party to appeal the original

dismissal of the infringement claim (even after a new complaint is filed), which is

impossible in the Ninth Circuit.

      The Bose Opinion overlooks the dispositive distinction between the Bose

proceeding, and therefore this case, and Lacey. Koss pleaded new claims based on

new facts in its Plantronics second amended complaint, whereas in Lacey the

dismissed claim was not subsequently re-pleaded.




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      SUMMARY OF THE APPEALED FINAL WRITTEN DECISION

      The opinion addressed a consolidated appeal (2022-2091 and 2022-2115)

involving inter partes review (“IPR”) filed by Apple Inc. against patents owned by

Appellant Koss. The appeal addressed IPR2021-00305, in which Apple challenged

claims 1–4, 9, 10, and 14–18 of U.S. Patent No. 10,506,325 (“the ’325 Patent”), and

IPR2021-00381, in which Apple challenged claims 1–5 and 14–20 of U.S. Patent

No. 10,491,982 (“the ’982 Patent”). The opinion relied on Bose to dismiss as moot

Koss’s appeal related to the ’325 Patent.

      In Bose, which involved five pending appeals, Bose, after the conclusion of

the merits briefing, moved to dismiss the appeals as moot in view of a settlement

between Koss and Plantronics in Plantronics.2

      In Plantronics, Koss filed a First Amended Complaint (“FAC”) alleging

infringement of at least independent Claim 1 of the ’025 Patent (Plantronics, ECF

No. 71 at 16), independent Claim 1 of the ’155 Patent (id. at 18), independent Claim

1 of the ’934 Patent (id. at 21), and independent Claim 1 of the ’325 Patent

(Plantronics, ECF No. 71 at 23). The FAC identified only these independent claims

as the basis for Koss’s infringement claim. Plantronics moved to dismiss the FAC,


2
    Koss has filed a Petition for rehearing/en banc review in Bose. As this
    proceeding did not address the analysis in Bose and relied on the dismissal of the
    appeal in Bose, Koss respectfully omits the summary of the Bose final written
    decisions contained in the Bose Petition. Bose, ECF No. 44.


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alleging that the specifically identified claims in the FAC were unpatentable under

35 U.S.C. § 101. Plantronics, ECF No. 80. Because only claim 1 from each patent

was at issue, the briefing did not independently analyze the dependent claims and

made only passing reference to them. Plantronics, ECF No. 81 at 12, 14, 16

(Plantronics characterizing groups of dependent claims with two-word phrases and

stating that the subject matter of the dependent claims “add[s] only minor detail”);

Plantronics, ECF No. 82 at 14–15 (Koss’s response to the conclusory allegations).

      Judge Tigar granted Plantronics’s motion to dismiss and granted Koss leave

to file a second amended complaint. Plantronics, ECF No. 88 at 16. In the dismissal

order, the court noted that the parties did not independently argue the dependent

claims and treated the independent claims as representative of the subject matter of

the dependent claims. Id. at 11–12. But the court granted Koss leave to replead.

      Koss filed a Second Amended Complaint (“SAC”) in Plantronics alleging

infringement of certain dependent claims: Claim 4 of the ’025 Patent, Claim 4 of the

’934 Patent, and Claim 18 of the ’325 Patent. Plantronics, ECF No. 91. Koss also

alleged infringement of other patents, irrelevant to this appeal because they were not

asserted against Apple or Bose, and were not part of the IPR proceedings. The new

claims in the SAC relied upon facts not pleaded in the prior complaint, including

that the dependent claims were found not unpatentable by the PTAB in the IPR

proceedings and also pleaded facts showing that the allegedly infringed dependent



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claims do not have the same scope as the independent claims analyzed by Judge

Tigar. Id. ¶¶ 78–109, 130–165.

      Plantronics filed a motion to dismiss the SAC. Plantronics, ECF No. 93.

Before Judge Tigar ruled on the Plantronics motion to dismiss the SAC, Koss and

Plantronics settled their disputes (including the district court action and IPR

challenges filed by Plantronics as IPR2022-01503 and IPR2022-01504).

Plantronics, ECF No. 102. All claims in Plantronics and the related IPRs were

dismissed with prejudice.

      Bose then moved to dismiss the appeals between Bose and Koss, alleging the

Plantronics order dismissing the FAC acted as issue preclusion because, although

Judge Tigar had never ruled upon the claims asserted in the SAC, the dismissal of

the FAC without prejudice and with leave to amend somehow actually litigated the

claims Koss raised in the SAC.




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                    SUMMARY OF THE PANEL DECISION

      The Panel relied on Bose to dismiss the present appeal as moot. Koss has

moved for rehearing and/or en banc review of the Bose Opinion. Beyond the

discussion on mootness, the opinion in this case does not address the ’325 Patent or

the substantive bases upon which the appeal was based.

      Thus, because this Panel adopted the analysis of the Bose Opinion on

mootness, the opinion, mistakenly equated a dismissal without prejudice, with leave

to amend, followed by amended infringement claims based on different facts (in

Plantronics) with an order of summary judgment (Hartley v. Mentor Corp., 869 F.2d

1469 (Fed. Cir. 1989)) or a dismissal with prejudice (Lacey v. Maricopa Cnty., 693

F.3d 896 (9th Cir. 2012)).

      The Bose Opinion incorrectly rejected Koss’s argument that when Koss filed

the SAC, the district court’s order became a legal nullity with respect to the claims

that Koss amended. The Bose Opinion improperly held that a dismissed claim need

not be repleaded to be appealed, and that such rule meant that Koss’s filing of the

SAC left the district court’s order on the FAC as a valid interlocutory order that

governed the amended claims, such that Koss had to either appeal that order or ask

the district court to vacate it to avoid it becoming a final, preclusive ruling that

resolved the SAC.




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      The Bose Opinion and, thus the panel’s opinion here, did not address the fact

that the district court expressly granted Koss leave to amend to address what the

district court viewed as correctable insufficiency and that no court has ever

considered the claims in the SAC. The Bose Opinion also does not examine or

address the substantially different allegations in the FAC, deemed insufficient, and

those in the SAC.




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                                  ARGUMENT

      An order dismissing a claim without prejudice, with leave to amend, does not

“actually litigate[] and resolve[]” the sufficiency of claims amended in accordance

with that order. Relying exclusively on the Bose Opinion, the Panel dismissed the

appeal as to the ’325 Patent as moot adopting the Bose court’s analysis that, despite

Koss’s filing of amended claims in the SAC, the order dismissing the predecessor

claims in the FAC became a final judgment on the merits as to the amended claims

of the SAC, and thereby rendered moot all other actions involving the patents of the

Plantronics case. The Panel’s ruling is inconsistent with the governing law.

I. ISSUE PRECLUSION CANNOT APPLY BECAUSE THE AMENDED CLAIMS IN THE
SECOND AMENDED COMPLAINT HAVE NOT BEEN “ACTUALLY LITIGATED”

      The Bose Opinion incorrectly held that collateral estoppel precluded any

continued action against Bose, and by extension precluded any continued action on

the ’325 Patent. Neither the Bose Opinion nor the opinion here addresses the

substantive differences between the claims in the FAC dismissed without prejudice

and the amended claims in the operative SAC, or acknowledges that no court has

ever addressed the sufficiency of the amended claims in the SAC. Plantronics, ECF

Nos. 71, 91. The Bose Opinion erroneously concluded that the SAC had no legal

effect, and the order dismissing the predecessor claims in the FAC controls.




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A. The Claims and Disputes Presented in the Second Amended Complaint Have
Never Been Reviewed or Dismissed by Any Court

      Under Supreme Court precedent, a “‘determination [in a prior case] is

conclusive in a subsequent action’” only “‘[w]hen an issue of fact or law is actually

litigated.’” B&B Hardware, Inc., 575 U.S. at 148 (quoting Restatement (Second) of

Judgments § 27). To be “actually litigated” and to have a “preclusive effect,” the

issue must be subject to a merits determination by a court of competent jurisdiction,

and a second court must determine that the issue before the second court is identical

to the issue decided in the first court. See Google LLC v. Hammon Dev. Int’l, Inc.,

54 F.4th 1377, 1381 (Fed. Cir. 2022). The party against whom issue preclusion is

asserted must have actually litigated that issue in an earlier action and lost. Parklane

Hosiery Co. v. Shore, 439 U.S. 322, 329 (1979).

      The allegations of the SAC (and therefore the issues of fact and law associated

therewith) have not been subject to any analysis by any court, which means they

have not been “actually litigated.” It is therefore impossible for the newly pleaded

claims in the SAC to have been “actually litigated” for multiple reasons.

      First, because the district court granted Koss leave to amend the FAC, the

dismissal of the FAC could not constitute an “adjudication on the merits” of the

amended infringement claims in the SAC. See Wolfson v. Brammer, 616 F.3d 1045,

1065 (9th Cir. 2010) (finding dismissal for “curable defect” was “not an

adjudication of the merits” and “as a curable defect, a second action on the same


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claim is permissible after correction of the deficiency”). Judge Tigar regularly grants

motions to dismiss with prejudice when deciding early validity issues under 35

U.S.C. § 101. See, e.g., PlanetID, LLC v. Digify, Inc., No. 19-CV-04615-JST, 2021

WL 567371, at *10 (N.D. Cal. Jan. 12, 2021). However, where Judge Tigar

determines that claims could be saved by amendment, he invites repleading. See,

e.g., Rearden LLC v. TWDC Enters. 18 Corp., No. 22-cv-02464 (N.D. Cal. Feb. 21,

2023) (dismissing under 101 with leave to replead and denying subsequent motion

to dismiss under 101 based on amended complaint). That is exactly what occurred

in the Plantronics pleadings.

      Second, the district court did not analyze the dependent claims Koss asserted

in the SAC. Plantronics, ECF No. 80 at 11. The district court concluded that the

briefing regarding the FAC “present[ed] no ‘meaningful argument’ about any of the

dependent claims[,]” and granted Koss leave to amend to address the alleged

pleading deficiencies. Id. Koss did just that in its SAC. Accordingly, the district

court’s first dismissal cannot have preclusive effect because the basis for alleging

infringement was different in the SAC. Wolfson, 616 F.3d at 1065.

      In the SAC, Koss (for the first time) specifically pleaded infringement of

Claim 4 of the ’025 Patent, Claim 4 of the ’934 Patent, and Claim 18 of the ’325

Patent. Plantronics, ECF No. 91.




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      Accompanying the newly asserted claims, Koss pleaded factual allegations

establishing that, for example, Claim 4 of the ’025 Patent is patent eligible subject

matter and contains inventive concepts under Alice, steps 1 and 2. Id. ¶¶ 101–107.

      The SAC further alleges that the PTAB had already found the claims of the

SAC to be not unpatentable, confirming that Judge Tigar’s treatment of the

dependent claims as patentably indistinct was incorrect. Id. ¶¶ 78–84. The PTAB’s

treatment of the claims repleaded in the SAC is important because the only

substantive analysis in Judge Tigar’s order is the eligibility of Claim 1; the PTAB

confirmed that Claim 4 is patentably distinct from Claim 1.

      The SAC also alleges that the USPTO (while examining then-pending now-

allowed patent applications) “carefully reviewed” Judge Tigar’s order and found the

subject matter of the newly pleaded claims of the SAC to be patentable subject

matter under 35 U.S.C. § 101. Id. ¶¶ 104–107. Koss included similar allegations

when alleging infringement of the other patent claims asserted against Bose at issue

in the Bose Opinion. SAC ¶¶ 78–109, 130–165. These new facts are the type of

unaddressed allegations invited by the offer to replead and were never ruled upon by

any court. The newly alleged claims and newly pleaded facts of the SAC have not

been actually litigated.

      Conversely, the ’155 Patent pleaded only in the FAC, not re-pleaded in the

SAC, was actually litigated. As Judge Tigar’s order notes, failure to re-allege a claim



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in an amended complaint, “will result in dismissal with prejudice.” Plantronics,

ECF No. 88 at 16. While the dismissal of the ’155 Patent is a claim that was actually

litigated (by not being part of the SAC) and merged into final judgment, the claims

of the ’025 Patent, ’934 Patent, and ’325 Patent that were identified in the SAC do

not have a corresponding order addressing their patentability. See Exeltis USA, Inc.

v. First Databank, Inc., 779 F. App’x 486, 487 (9th Cir. 2019) (“As a general rule,

‘an amended complaint supersedes the original complaint and renders it without

legal effect.’” (citing Lacey, 693 F.3d at 927)). The treatment of the ’155 Patent

cannot be the same as the claims repleaded in the SAC.

      Exeltis, in a post-Lacey clarification, reasoned that “the original complaint is

a nullity [and] [e]xpressing [its] views on the claims in the original complaint would

be expressing [its] views on ‘abstract propositions of law’” at odds with Supreme

Court authority. Id. (citing Hall v. Beals, 396 U.S. 45, 48 (1969)).

B. The Case Law Relied Upon by this Court is Inapposite and Inconsistent with
Supreme Court and Ninth Circuit Law

      The Bose Opinion does not identify any cases where dismissal without

prejudice directed to a non-operative complaint merges into a final and appealable

judgment upon settlement and termination of the case, and serves as an adjudication

on the merits of amended claims, because no such law exists.

      Rather, the Bose Opinion relied upon Hartley and Lacey to support its

application of issue preclusion. Those cases, however, are inapposite because they


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rely upon a factual predicate that is wholly absent in Bose, i.e., there was no plausible

outcome other than dismissal of the claims because the dismissal was either with

prejudice or based upon a summary judgment order. Such a factual predicate does

not exist in Bose.

      In Hartley, the court addressed a prior litigation wherein the “question of

validity . . . was actually litigated.” Hartley, 869 F.2d at 1471. The district court

granted summary judgment that the asserted patent was invalid under 35 U.S.C.

§ 102(b) based on the on-sale bar. Id. Summary judgment necessarily is an

adjudication on the merits. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). The claims of the SAC, in contrast, have never been adjudicated

      Lacey likewise is inapposite. The Lacey court held “[f]or claims dismissed

with prejudice and without leave to amend, we will not require that they be repled

in a subsequent amended complaint to preserve them for appeal. But for any claims

voluntarily dismissed, we will consider those claims to be waived if not repled.”

Lacey, 693 F.3d at 928. In Bose, the claims the panel found precluded were not

dismissed with prejudice and without leave to amend. They were dismissed with

leave to amend, and Koss amended its infringement claims in the SAC. Lacey does

not support the argument that claims newly asserted in an amended complaint are

somehow adjudicated as insufficient by the order dismissing their predecessors, with

leave to amend, in a prior complaint.



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      The Ninth Circuit has regularly held, post-Lacey, that claims in an original

complaint become a nullity upon the filing of amended claims, and it lacks

jurisdiction to review the amended claims. Exeltis, 779 F. App’x at 487 (“[T]he

original complaint is a nullity. Expressing our views on the claims in the original

complaint would be expressing views on ‘abstract propositions of law[.]’”); Liberi

v. Def. Our Freedoms Founds., Inc., 509 F. App’x 595, 596 (9th Cir. 2013)

(dismissing appeal of issues tied to original complaint due to filing of an amended

complaint). The Bose Opinion erroneously extended the rule that dismissed claims

need not be repleaded to appeal an order dismissing them: “if claims need not be

repleaded to be appealable, then the order dismissing those claims is not rendered a

legal nullity and merges into the final judgment.” Bose Opinion at 8 (citing Lacey,

693 F.3d at 927). This rule applies when one set of claims is dismissed with

prejudice and others continue. In contrast, amended claims nullify the previously

dismissed claims, and their dismissal cannot be appealed.

      The Bose Opinion places Koss in a catch-22; it cannot appeal the district

court’s order as it relates to the claims of the SAC because of the filing of the SAC,

yet failure to do so precludes litigation of the claims alleged in the SAC.

C. This Court’s Jurisdiction Rulings Preclude Issue Preclusion

      This Court delineates between claims of amended complaints and claims of

original complaints when determining appellate jurisdiction. See Zenith Elecs.



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Corp. v. Exzec, Inc., 182 F.3d 1340 (Fed. Cir. 1999). A complaint containing patent

infringement claims gives district courts jurisdiction under 28 U.S.C. § 1338(a),

which in turn establishes “the path of appeal giving exclusive jurisdiction” to the

Federal Circuit. Id. at 1346. When those patent claims are dismissed with prejudice,

this Court retains appellate jurisdiction. Id. Conversely, if the patent claims are

dismissed without prejudice, leaving only a trade secrets claim for example, “the

[district court] suit, so amended, did not arise under 28 U.S.C. § 1338(a)” and this

Court no longer has appellate jurisdiction. Id.

      This is because “the dismissal of a patent infringement claim without

prejudice operate[s] as an amendment of the complaint, leaving in that case only a

trade secrets claim.” Id. (citing Gronholz v. Sears, Roebuck & Co., 836 F.2d 515,

518 (Fed. Cir. 1987)).     Contrastingly, a complaint dismissed “with prejudice

constitutes an adjudication of the claims on the merits, not an amendment of the

complaint.” Id. (citing Hartley, 869 F.2d at 1473). Judge Tigar’s dismissal of the

’155 Patent’s claims are an adjudication on the merits, but the order inviting the SAC

cannot be deemed to be evidence of the actual litigation of the claims identified in

the SAC.

II. CONCLUSION

      In an issue of first impression, the Bose Opinion held an order dismissing

claims with leave to amend operates as an adjudication on the merits of the amended



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claims. The Bose Opinion, and this Panel’s reliance upon the Bose Opinion, is

contrary to Ninth Circuit precedent because actual litigation of a claim is required

for issue preclusion to apply. The Bose Opinion requires appeal of an order that, by

Federal Circuit and Ninth Circuit precedent, is not permitted. In Exeltis, the Ninth

Circuit expressly rejected extending Lacey to cover claims that were subsequently

amended.

      Accordingly, both the Bose Opinion and the opinion here incorrectly extend

Lacey (which holds that claims dismissed with prejudice need not be repleaded to

preserve their appealability) to amended claims.



Dated: August 27, 2024                       Respectfully submitted,

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  ADDENDUM
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        NOTE: This disposition is nonprecedential.


    United States Court of Appeals
        for the Federal Circuit
                 ______________________

                KOSS CORPORATION,
                      Appellant

                            v.

   KATHERINE K. VIDAL, UNDER SECRETARY OF
   COMMERCE FOR INTELLECTUAL PROPERTY
     AND DIRECTOR OF THE UNITED STATES
       PATENT AND TRADEMARK OFFICE,
                   Intervenor
             ______________________

                  2022-2091, 2022-2115
                 ______________________

     Appeals from the United States Patent and Trademark
 Office, Patent Trial and Appeal Board in Nos. IPR2021-
 00305, IPR2021-00381.
                  ______________________

                 Decided: July 31, 2024
                 ______________________

    MARK G. KNEDEISEN, K&L Gates LLP, Pittsburgh, PA,
 argued for appellant.  Also represented by RAGAE
 GHABRIAL, LAUREN S. MURRAY, CHRISTOPHER MICHAEL
 VERDINI, MICHELLE WEAVER.

    MICHAEL S. FORMAN, Office of the Solicitor, United
 States Patent and Trademark Office, Alexandria, VA,
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 argued for intervenor. Also represented by BENJAMIN T.
 HICKMAN, FARHEENA YASMEEN RASHEED.
                  ______________________

  Before HUGHES, STOLL, and CUNNINGHAM, Circuit Judges.
 HUGHES, Circuit Judge.
     In this consolidated appeal, Koss Corp. appeals the Pa-
 tent Trial and Appeal Board’s decisions in IPR2021-00305
 and IPR2021-00381, which found claims 1–4, 9, 10, and 14–
 17 of U.S. Patent No. 10,506,325 and claims 1–5 and 14–18
 of U.S. Patent No. 10,491,982 unpatentable under 35
 U.S.C. § 103. Both patents are assigned to Koss Corp. The
 two patents, which disclose various types of wireless ear-
 phones, have identical written descriptions and figures.
 For the reasons stated below, we dismiss Koss Corp.’s ap-
 peal as to U.S. Patent No. 10,506,325 and affirm the
 Board’s decision as to U.S. Patent No. 10,491,982.
                     I. THE ’325 PATENT
     In November 2022, after Koss Corp. (Koss) filed a
 timely notice of appeal for IPR2021-00305, a district court
 infringement      action      invalidated     U.S.    Patent
 No. 10,506,325 (the ’325 patent) after finding the chal-
 lenged claims ineligible under 35 U.S.C. § 101. See Koss
 Corp. v. Plantronics Inc., No. 21-cv-03854-JST, 2022 WL
 19975244, at *1, *9 (N.D. Cal. Nov. 16, 2022). That same
 district court order, after finding the challenged claims in-
 valid under § 101, also invalidated the claims of at least
 three other Koss patents for wireless earphones—U.S. Pa-
 tent No. 10,368,155 (the ’155 patent), U.S. Patent
 No. 10,469,934 (the ’934 patent), and U.S. Patent
 No. 10,206,025 (the ’025 patent), none of which are at issue
 in this appeal. Id.
     Like the ’325 patent at issue here, Koss also filed ap-
 peals with this court challenging three inter partes review
 (IPR) decisions in which the Board held certain claims of
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 the ’155, ’934, and ’025 patents unpatentable. See Appeal
 Nos. 23-1173, 23-1179, 23-1180, 23-1191. Koss’ appeals re-
 lated to the ’155, ’934, and ’025 patents were consolidated
 into a single appeal before this court. See Koss Corp. v.
 Bose, No. 22-2090 (Fed. Cir. July 19, 2024). In that consol-
 idated appeal, this court recently dismissed each of the un-
 derlying appeals as moot “[b]ecause all the claims in the
 patents at issue were invalidated in prior district court lit-
 igation.” Id., slip op. at 2. (dismissing as moot Appeal Nos.
 22-2090, 23-1173, 23-1179, 23-1180, and 23-1191). As those
 claims were found invalid in the same district court order,
 we find the mootness issue in Koss Corp. v. Bose dispositive
 here. Id. Therefore, with respect to the ’325 patent, we dis-
 miss the appeal as moot.
                     II. THE ’982 PATENT
                               A
     U.S. Patent No. 10,491,982 (the ’982 patent) describes
 wireless earphones that can receive and play streamed dig-
 ital audio content via wireless networks. ’982 patent at
 2:64–66, 3:7–10. Each earphone has a body with a down-
 wardly extending elongated portion and an earbud portion
 that is inserted into the user’s ear canal. Id. at 3:16–27,
 3:54–56, 18:14–28. To receive and play the streamed con-
 tent, each wireless earphone comprises a “transceiver cir-
 cuit,” which may be implemented as a single integrated
 circuit—such as a system-on-chip (SOC)—and may be
 housed in the body portion of the earphone. Id. at 3:40–46,
 6:34–49.
     The ’982 patent includes twenty claims, with claim 1
 being the sole independent claim. Claim 1 recites:
     1. A system comprising:
     headphones comprising a pair of first and second
      wireless earphones to be worn simultaneously by
      a user, wherein the first and second earphones
      are separate such that when the headphones are
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      worn by the user, the first and second earphones
      are not physically connected, wherein each of the
      first and second earphones comprises:
       a body portion that comprises:
          a wireless communication circuit for re-
           ceiving and transmitting wireless sig-
           nals;
          a processor circuit in communication with
           the wireless communication circuit; and
          an ear canal portion that is inserted into
           an ear of the user when worn by the
           user; and
          at least one acoustic transducer connected
           to the processor circuit; and
       an elongated portion that extends away from the
        body portion such that the elongated portion
        extends downwardly when the ear canal por-
        tion is inserted in the ear of the user;
       a microphone connected to the processor circuit
        and for picking up utterances of a user of the
        headphones;
       an antenna connected to the wireless communi-
        cation circuit; and
       a rechargeable power source; and
     a mobile, digital audio player that stores digital au-
      dio content and that comprises a wireless trans-
      ceiver for transmitting digital audio content to the
      headphones via Bluetooth wireless communica-
      tion links, such that each earphone receives and
      plays audio content received wirelessly via the
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         Bluetooth wireless communication links from the
         mobile, digital audio player.
 Id. at 18:8–40.
                               B
     Apple Inc. petitioned for IPR of claims 1–5 and 14–20
 of the ’982 patent, challenging patentability under 35
 U.S.C. § 103. Apple asserted six different grounds for obvi-
 ousness, with each ground containing a combination of at
 least prior art references Rosener 1 and Hankey. 2 Rosener
 relates to wireless communication between an external
 data or audio device, such as a cell phone or MP3 player,
 and two earphones, with a focus on wireless earbuds. J.A.
 75. Hankey describes a headset within a small compact
 unit, specifically describing techniques for integrating elec-
 tronic components into the limited space of a headset’s ear-
 bud and primary housing body. J.A. 77. For its proposed
 combination, Apple “relie[d] on Rosener as teaching two
 earpieces/ earphones . . . in wireless communication with
 an audio source,” while relying on Hankey to “provide[]
 techniques to package electronics within a small compact
 unit to alleviate the size and shape hassles of conventional
 headsets.” J.A. 80–81 (internal quotations omitted).
     The Board instituted IPR on the challenged claims, and
 after a hearing, issued a final written decision holding
 claims 1–5 and 14–18 unpatentable and claims 19 and 20
 not unpatentable. See Apple Inc. v. Koss Corp., No.
 IPR2021-00381, 2022 WL 2314983 (P.T.A.B. June 27,
 2022). In relevant part, the Board found that “a person of
 ordinary skill in the art would have had reason to combine
 Hankey’s ‘small form factors’ with Rosener’s earphones.”
 J.A. 82. Koss appeals. Apple withdrew from the appeal and
 the Director of the United States Patent and Trademark


     1     U.S. Patent App. Pub. No. 2008/0076489.
     2     U.S. Patent App. Pub. No. 2008/0166001.
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 Office (USPTO) intervened pursuant to 35 U.S.C. § 143 to
 defend the Board’s decision. We have jurisdiction under 35
 U.S.C §§ 141–44, 319, and 28 U.S.C. § 1295(a)(4)(A).
                              C
     An appellant has the burden to prove the existence of
 harmful error. In re Watts, 354 F.3d 1362, 1369 (Fed. Cir.
 2004). Obviousness is a question of law based on underly-
 ing facts. WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1326
 (Fed. Cir. 2016). We review the Board’s ultimate determi-
 nation of obviousness de novo and its underlying factual
 findings for substantial evidence. See Pers. Web Techs.,
 LLC v. Apple, Inc., 848 F.3d 987, 991 (Fed. Cir. 2017) (cit-
 ing In re Gartside, 203 F.3d 1305, 1312 (Fed. Cir. 2000)).
 What a reference teaches and whether a person of ordinary
 skill would have been motivated to combine references are
 questions of fact. In re Constr. Equip. Co., 665 F.3d 1254,
 1255 (Fed. Cir. 2011). Likewise, whether a skilled artisan
 would have had a reasonable expectation of success in mak-
 ing the claimed invention is a question of fact. Intelligent
 Bio-Sys., Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359,
 1366 (Fed. Cir. 2016).
     Substantial evidence is “such relevant evidence as a
 reasonable mind might accept as adequate to support” the
 conclusion reached. Consol. Edison Co. v. NLRB, 305 U.S.
 197, 229 (1938).
     On appeal, Koss argues that the Board made erroneous
 legal conclusions and factual findings with respect to inde-
 pendent claim 1 of the ’982 patent. According to Koss, these
 alleged errors warrant reversal of the Board’s decision. We
 disagree.
    Koss argues that with respect to claim 1, the Board
 made two erroneous factual findings that are unsupported
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 by substantial evidence. 3 Appellant’s Br. 47. Koss chal-
 lenges the Board’s finding of a motivation to combine and,
 specifically, its conclusions that (1) Rosener and Hankey
 would have supplied all information that a person of ordi-
 nary skill in the art would need to make the claimed inven-
 tion because Rosener and the ’982 patent had “the same
 level of disclosure,” and (2) the challenged claims do “not
 include limitations regarding design and operability.” Ap-
 pellant’s Br. 47 (quoting J.A. 87). We conclude that sub-
 stantial evidence supports the Board’s relevant findings.
     As discussed above, Apple’s proposed combination of
 Rosener and Hankey “relie[d] on Rosener as teaching two
 earpieces/earphones . . . in wireless communication with
 an audio source.” J.A. 80 (internal quotations omitted).
 During its obviousness analysis in view of the proposed
 combination of Rosener and Hankey, the Board determined
 that the ’982 patent includes the same level of disclosures
 for which Apple relied on Rosener (i.e., two wireless ear-
 phones communicating with an audio source). J.A. 87. This
 finding is supported by substantial evidence. As the Board
 stated:
     We are not persuaded that the design and opera-
     tional issues raised by Patent Owner would have
     precluded a person of ordinary skill in the art from
     understanding the references and any differences
     between the references and claim 1. Patent Owner
     does not allege the references teach away from the
     combination.
 J.A. 88.
     The Board’s determination that claim 1 does “not in-
 clude limitations regarding design and operability” is not,


     3   Koss does not separately challenge the Board’s fac-
 tual findings regarding the other claims, so we treat claim
 1 as representative.
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 as Koss urges, an “erroneous factual finding.” J.A. 87; Ap-
 pellant’s Br. 47. The scope and meaning of a claim is a
 claim construction inquiry and thus a legal question. See,
 e.g., Google LLC v. EcoFactor, Inc., 92 F.4th 1049, 1054,
 1056 (Fed. Cir. 2024). We conclude that any error in the
 Board’s statement is harmless error, however. See In re
 Watts, 354 F.3d 1362, 1369 (Fed. Cir. 2004) (“the harmless
 error rule applies to appeals from the Board”); Micrografx,
 LLC v. Google Inc., 672 F. App’x 988, 991 (Fed. Cir. 2016).
 The Board made this statement in the context of “what the
 combined teachings of the references would have suggested
 to those of ordinary skill in the art” and “the design and
 operational issues raised by [Koss],” J.A. 87–88, and sub-
 stantial evidence supports the Board’s finding that “design
 and implementation details of the headphones would have
 been well-known.” J.A. 86. The Board credited expert tes-
 timony that: (1) an engineer seeking to implement “an au-
 dio transducer or equivalent to the speaker technology”
 would have “many references to describe the operation of
 such an element,” J.A. 8717–18 at 38:3–9, 39:8–17; and
 (2) “there was publicly available information about the
 properties, characteristics, and uses of” transducers,
 J.A. 7616–18 at 192:13–194:7.
     Finally, Koss argues that the Board legally erred by cit-
 ing In re Keller during its obviousness analysis. Appellant’s
 Br. 32, 45–47; see also In re Keller, 642 F.2d 413 (CCPA
 1981). But the Board cited In re Keller to support its state-
 ment that “the test [for obviousness] is what the combined
 teachings of the references would have suggested to those
 of ordinary skill in the art.” J.A. 86–87 (citing In re Keller,
 642 F.2d at 425). That is a correct statement of the law and
 not error.
                               III
     We have considered Koss’ remaining arguments and
 find them unpersuasive. Because we do not find any legal
 or factual errors, we affirm the Board’s decision as to the
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 ’982 patent. And because we find this court’s recent deci-
 sion in Koss v. Bose, No. 22-2090 dispositive here, we dis-
 miss as moot the appeal as to the ’325 patent.
     DISSMISSED-IN-PART, AFFIRMED-IN-PART
                             COSTS
 No costs.
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FORM 19. Certificate of Compliance with Type-Volume Limitations                             Form 19
                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2022-2091, -2115

  Short Case Caption: Koss Corporation v. Vidal

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  Date: _________________                       Signature:

                                                Name:             Mark G. Knedeisen




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